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                                UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                                      No. 13-cr-00267

                   Plaintiff,
                                                               DETENTION ORDER
       v.                                                      (Violation of Probation)

Richard Melella,

                   Defendant.



       The defendant having been arrested for alleged violation(s) of the terms and conditions of
probation; and
       Having conducted a detention hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(6)
and 18 U.S.C. § 3143(a), the Court orders the above-named defendant detained and finds that:
         The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to flee; and/or

   X     The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to pose a danger to the safety of any other person or the community if
released under 18 U.S.C. § 3142(b) or (c).
       This finding is based on the reasons stated on the record.

IT IS SO ORDERED.


   Dated:     April 11, 2016                             /s/
                                                  UNITED STATES MAGISTRATE JUDGE
